                                  Case 17-08260-JMC-7A           Doc 17       Filed 01/30/19       EOD 01/30/19 10:46:10             Pg 1 of 4

                                                                                  Form 1                                                                               Page: 1

                                                          Individual Estate Property Record and Report
                                                                           Asset Cases
Case Number:           17-08260 JMC                                                          Trustee: (340210)           John J. Petr
Case Name:             Katherine M. Hensley                                                  Filed (f) or Converted (c): 10/31/17 (f)
                                                                                             §341(a) Meeting Date:       12/18/17
Period Ending:         12/31/18                                                              Claims Bar Date:            03/21/18

                                  1                                       2                         3                          4                  5                    6

                          Asset Description                          Petition/              Estimated Net Value             Property         Sale/Funds          Asset Fully
               (Scheduled And Unscheduled (u) Property)            Unscheduled         (Value Determined By Trustee,       Abandoned         Received by      Administered (FA)/
                                                                      Values              Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate       Gross Value of
Ref. #                                                                                        and Other Costs)                                                Remaining Assets

 1       Huntington National Bank ckg acct #5665                              356.00                         0.00                                     0.00                    FA

 2       Normal household goods and furnishings                           1,050.00                           0.00                                     0.00                    FA

 3       Electronics                                                          650.00                         0.00                                     0.00                    FA

 4       DVD's and Books                                                       20.00                         0.00                                     0.00                    FA

 5       Necessary wearing apparel                                             50.00                         0.00                                     0.00                    FA

 6       Costume jewelry, watches, rings.                                      75.00                         0.00                                     0.00                    FA

 7       Term Life Insurance                                                    0.00                         0.00                                     0.00                    FA
 8       2016 federal and state tax refunds                                     0.00                         0.00                                     0.00                    FA

 9       2016 Chevrolet Cruze, 9,100 miles                                      0.00                         0.00                                     0.00                    FA

10       2015 Chevrolet Spark, 32,500 miles                               4,185.00                           0.00                                     0.00                    FA

11       Cat                                                                   10.00                         0.00                                     0.00                    FA

12       2017 federal and state tax refunds prorated to (u)               2,000.00                       2,000.00                                 2,011.92                    FA
           the date of bankruptcy

12       Assets            Totals (Excluding unknown values)           $8,396.00                        $2,000.00                                $2,011.92                  $0.00


     Major Activities Affecting Case Closing:
                Preparation of TFR.




                                                                                                                                             Printed: 01/30/2019 10:09 AM   V.14.14
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                                                                                  Form 1                                                                              Page: 2

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
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                              1                                            2                       3                          4                  5                    6

                      Asset Description                               Petition/            Estimated Net Value             Property         Sale/Funds          Asset Fully
           (Scheduled And Unscheduled (u) Property)                 Unscheduled       (Value Determined By Trustee,       Abandoned         Received by      Administered (FA)/
                                                                       Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate       Gross Value of
Ref. #                                                                                       and Other Costs)                                                Remaining Assets

    Initial Projected Date Of Final Report (TFR): June 30, 2018                         Current Projected Date Of Final Report (TFR): June 30, 2019




                January 30, 2019                                                        /s/ John J. Petr
         __________________________                                                     _________________________________________________________________
                      Date                                                              John J. Petr




                                                                                                                                            Printed: 01/30/2019 10:09 AM   V.14.14
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                                                                               Form 2                                                                                                Page: 1
                                                         Cash Receipts And Disbursements Record
Case Number:         17-08260 JMC                                                                   Trustee:             John J. Petr (340210)
Case Name:           Katherine M. Hensley                                                           Bank Name:           Rabobank, N.A.
                                                                                                    Account:             ******1666 - Checking Account
Taxpayer ID #:       **-***2762                                                                     Blanket Bond:        $42,291,316.00 (per case limit)
Period Ending:       12/31/18                                                                       Separate Bond:       N/A

   1           2                           3                                     4                                                 5                       6                     7
 Trans.     {Ref #} /                                                                                                       Receipts               Disbursements           Checking
  Date      Check #            Paid To / Received From              Description of Transaction                 T-Code          $                         $              Account Balance
02/23/18      {12}        Katherine Hensley                2017 state refund                               1224-000                      36.92                                         36.92
02/28/18                  Rabobank, N.A.                   Bank and Technology Services Fee                2600-000                                             10.00                  26.92
03/30/18                  Rabobank, N.A.                   Bank and Technology Services Fee                2600-000                                             10.00                  16.92
04/27/18      {12}        United States Treasury           2017 federal tax refund                         1224-000                    1,975.00                                      1,991.92
04/30/18                  Rabobank, N.A.                   Bank and Technology Services Fee                2600-000                                             10.00                1,981.92
05/31/18                  Rabobank, N.A.                   Bank and Technology Services Fee                2600-000                                             10.00                1,971.92
06/29/18                  Rabobank, N.A.                   Bank and Technology Services Fee                2600-000                                             10.00                1,961.92
07/31/18                  Rabobank, N.A.                   Bank and Technology Services Fee                2600-000                                             10.00                1,951.92
08/31/18                  Rabobank, N.A.                   Bank and Technology Services Fee                2600-000                                             10.00                1,941.92
09/28/18                  Rabobank, N.A.                   Bank and Technology Services Fee                2600-000                                              5.00                1,936.92
10/31/18                  Rabobank, N.A.                   Bank and Technology Services Fee                2600-000                                              5.00                1,931.92

                                                                               Account ******1666
                                                                                         Balance Forward                    0.00
                                                                                       2          Deposits              2,011.92                  0         Checks                    0.00
                                                                                       0 Interest Postings                  0.00                  9 Adjustments Out                  80.00
                                                                                                                                                  0   Transfers Out                   0.00
                                                                                                    Subtotal            2,011.92
                                                                                                                                                               Total                 80.00
                                                                                       0   Adjustments In                   0.00
                                                                                       0     Transfers In                   0.00
                                                                                                       Total            2,011.92




  {} Asset reference(s)                                                                                                                               Printed: 01/30/2019 10:09 AM     V.14.14
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                                                                         Form 2                                                                                      Page: 2
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                                                                                            Account:             ******1666 - Checking Account
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Period Ending:     12/31/18                                                                 Separate Bond:       N/A

  1           2                        3                                  4                                                5               6                     7
Trans.     {Ref #} /                                                                                                Receipts        Disbursements          Checking
 Date      Check #         Paid To / Received From             Description of Transaction              T-Code          $                  $             Account Balance

                            Net Receipts :          2,011.92            Case Totals
                                               ————————
                                                                                  Balance Forward                   0.00
                                Net Estate :       $2,011.92
                                                                                2          Deposits             2,011.92          0         Checks                    0.00
                                                                                0 Interest Postings                 0.00          9 Adjustments Out                  80.00
                                                                                                                                  0   Transfers Out                   0.00
                                                                                            Subtotal            2,011.92
                                                                                      Adjustments In                                           Total                 80.00
                                                                                 0                                  0.00
                                                                                 0      Transfers In                0.00
                                                                                               Total            2,011.92           Net Total Balance            1,931.92



                   January 30, 2019                                             /s/ John J. Petr
            __________________________                                          _________________________________________________________________
                         Date                                                   John J. Petr




 {} Asset reference(s)                                                                                                                Printed: 01/30/2019 10:09 AM    V.14.14
